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                     UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

DEREK ANTOL, individually and as next
friend of DSA, a minor, and T_A, a minor and
SAMANTHA CONKLIN,
                                               No. 1:14-cv-00793
      Plaintiffs,
                                               HON. JANET T. NEFF
v

ADAM DENT, KARL SCHMITZ, PHILLIP
MARSHALL, KATE STRAUSS, CASEY,
BRINGEDAHL, TROOPER VOGT, GREGORY
A. PAROLINI, WEMET Officer #1 and
JEFFREY LEWIS,

      Defendants.


J. Nicholas Bostic (P40653)                    John C. Schrier (P36702)
Attorney for Plaintiffs                        Attorney for Defendants
909 N. Washington Avenue                       Bringedahl, Dent, Lewis, Strauss
Lansing, MI 48906                              Parmenter O'Toole
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John G. Fedynsky (P65232)
Attorney for Defendants Schmitz, Marshall,
Vogt and Parolini
Michigan Department of Attorney General
Public Employment, Elections & Tort Division
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                                           /

  STIPULATED ORDER ADMINISTRATIVELY CLOSING THE CASE
PENDING RESOLUTION OF STATE COURT CRIMINAL PROCEEDINGS
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      It is hereby stipulated and agreed by the parties, by and through their

respective attorneys, that this case should be administratively closed pending the

resolution of ongoing criminal proceedings in state court. The parties further agree

that any party may move to reopen this case within 90 days of the resolution of the

criminal proceedings in state court.

      IT IS ORDERED that this case is ADMINISTRATIVELY CLOSED pending

resolution of criminal proceedings in state court.

      IT IS FURTHER ORDERED that any party may move to reopen this case

within 90 days of the resolution of the criminal proceedings in state court.

      IT IS SO ORDERED.
                                              __________________________
                                              Hon. Janet T. Neff
                                              United States District Court Judge
Dated:


APPROVED FOR ENTRY:

s/ J. Nicholas Bostic (with consent)
J. Nicholas Bostic (P40653)
Attorneys for Plaintiff

s/ John G. Fedynsky
John G. Fedynsky (P65232)
Attorney for Defendants Schmitz,
Marshall, Vogt and Parolini

s/ John C. Schrier (with consent)
John C. Schrier (P36702)
Attorney for Defendants Bringedahl,
Dent, Lewis & Strauss




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